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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                        Plaintiff,                )
                                                  )
   vs.                                            )        No. 4:05CR391-SNL
                                                  )
KEVIN ATKINSON,                                   )
                                                  )
                        Defendant.                )


                                              ORDER

         IT IS HEREBY ORDERED that Mr. Atkinson will enter a change of plea on October

14, 2005 at 9:30 a.m. in Courtroom 3 before the undersigned.

         Dated this   5th    day of October, 2005.




                                                      SENIOR UNITED STATES DISTRICT JUDGE
